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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

INTERNATIONAL CONTROL SYSTEMS,                  §
LLC, ET AL.                                     §
                                                §
               Plaintiff,                       §
                                                §
v.                                              §
                                                §       Civil Action No. 2:08-CV-188-CE
                                                §
SONY ELECTRONICS, INC.;                         §        JURY TRIAL DEMANDED
                                                §
              Defendants.                       §


               ORDER OF DISMISSAL OF AUDIOVOX CORPORATION

       Before the Court is Plaintiff International Control Systems, LLC. and Defendant

Audiovox Corporation (collectively “the Parties”) Stipulated Motion For Dismissal.

       The motion is GRANTED and it is hereby ORDERED that:

       1.     All claims and counterclaims in the above-captioned action between the Plaintiff

International Control Systems L.L.C. and Defendant Audiovox Corporation are hereby dismissed

with prejudice in accordance with the Parties’ Settlement Agreement.

       2.     Audiovox Corporation is dismissed from this action with prejudice.

       3.     The Parties shall each bear their own costs and attorneys’ fees.

       4.     This Court retains jurisdiction to enforce the Settlement Agreement of the Parties.


      SIGNED this 29th day of October, 2010.




                                                    ___________________________________
                                                    CHARLES EVERINGHAM IV
                                                    UNITED STATES MAGISTRATE JUDGE
